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20180409145201
AO 440 (Rev. 06/12) Summons in a Civil Action RETURN OF SERV|CE
SEFiVlCE OF: SUMMONS AND Sli.?gND AN|ENDED CLASS ACTION COMPLAINT, PRAYER FOR REL|EF
EFFECTED (i) BY ME: 5 ‘ A/
TiTLE: PROCESS SERVER

DATE: /4[9 r»"/ [2{ 20 (<g l}‘/é/?-

 

 

CHECK ONE BOX BELOW TO |ND|CATE APPROPR|ATE |V|ETHOD OF SEFlVlCE:
[ ]Served personally upon the defendant

TREVON BF{OWN

P|aoe where served:

1934 WOODDUCK LANE MYRTLE BEACH SC 29575

`,}/`[|_eft copies thereof at the defendant' s dwelling house or usual place of abode with Bersona of suitable age and discretion then residing
therein. Name of person with whom the summons and complaint were left: “ "T fe

$°"L»'_r€o*' deficde Qtv€ l\.»".f ngM,-¢. Sw{' \q/~c 'F£m~‘e wh~)u\ bl\M €~£(€o( Al‘,~, 71`¢['

Fie|ati<:trs£lj;`)¢t<:[defendant l '\LO°'([J;€ L\.i‘.r DLLQ‘/`d €~wi D[Ac£o( datsun-vfr °`"‘ vL'~éL( m 190/65-
V` irm [./'ueJ QV`.`YL given L.,b¢wr a,»¢lM ¢M zpré![$a? 2043 a{~ ¢‘/5'4»\ gchL

Description of Person Accepting Service; nunc Jf.~ w¢._,- ,-n,:r¢{

sEx;MAGE-£?? HE|GHT: S'll" ‘ wEleHT; !80? sKiN: L)[u[¢ HAln;S/~¢[( 0THER:

[X] To the best of my knowledge, said person wast not engaged in the U S. l\/iilitary at the time of service

 

 

 

 

 

 

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in 8/\,(}€ 114 Ma r-' bd u‘\c`?~€f¥?`/b*/£ (G¢ Zd` cg
STATEMENT OF SERVER
TFiA\/EL$ ___ sEnvlcEs $ __ TOTAL $ ___
DECLARAT|ON OF SERVER

l declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in

this Fieturn ot Serv` e an Statement of Li`,erv r is true and correct
DATE,({MY/ 162 /20 {§

L.S.
SIG ATURE OFM

GUARANTEED SUBPOENA SEFiV|CE, lNC.
2009 MORR|S AVENUE
UNION, NJ 07083

 

ATTOF{NEY: DAV|D C. S|LVER, ESO.

PLA|NT|FFZ CHARLES WlLDES, |ND|V|DUALLY, ET Al.

DEFENDANT? B|TCONNECT lNTERNATiONAL PLC, A FORE[GN CORPORAT|ON, ET AL
VENUE: DlSTR|CT

DOCKET: 9 18 CV 80086 DlV|l\/f

CONIN|ENT:

 

 

 

